                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                    JAN 1 2 022
                                   Holdi g a Criminal Term                      Clerk. U.S. District and
                                                                                  Ban ruptcy Courts
                            Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.                                  22C O15 APNl
                                                   VIOLATIONS:

ELMER STEWART RHODES HI,                           COUNT 1:
(Counts 1,2,3,4,9)                                 18 U.S.C. § 2384
                                                   (Seditious Conspiracy)
KELLY MEGGS,
(Counts 1,2,3, 4, 5,10)                            COUNT 2:
                                                   18 U.S.C. § 1512(E)
KENNETH HARRELSON,                                 (Cons iracy to Obstruct an Official
(Counts 1,2, 3, 4, 5,11)                           Proceedin )

JESSICA WATKINS,                                   COUNT 3:
(Counts 1, 2, 3, 4, 5, 6)                          18 U.S.C. §§ 1512(c)(2), 2
                                                   (Obstruction of an Official Proceeding and
JOSHUA JAMES,                                      Aiding and Abetting)
(Counts 1, 2, 3, 4, 7, 8,12)
                                                   COUNT 4:
ROBERTO MINUTA,                                    18 U.S.C. § 372
(Count 1,2,3, 4,13)                                (Conspiracy to Prevent an Officer from
                                                   Discharging Any Duties)
JOSEPH HACKETT,
(Counts 1,2, 3, 4, 5,14)                           COUNT 5:
                                                   18 U.S.C. §§ 1361, 2
DAVID MOERSCHEL,                                   (Destruction of Government Property and
(Counts 1,2,3, 4, 5,15)                            Aiding and Abetting)

BRIAN ULRICH,                                      COUNTS 6-7:
(Counts 1,2, 3, 4,16)                              18 U.S.C. §§ 231(a)(3), 2
                                                   (Civil Disorder and Aiding and Abetting)
THOMAS CALDWELL, and
(Counts 1,2, 3, 4,17)                              COUNT 8:
                                                   18 U.S.C. § 111(a)(1)
EDWARD VALLEJO,                                    (Assaulting, Resisting, or Impeding
(Count 1,2, 3, 4)                                  Certain Officers)

                            Defendants.            COUNTS 9-17:
                                                  18 U.S.C. §§ 1512(c)(1), 2
                                                  (Tampering ith Documents or
                                                  Proceedings and Aiding and Abetting)
                                            INDICTMENT
          The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and times stated below:
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i      Intro                   uct              on

! The Transfer of Presi ential Power in the United States

; 1. The United States Constitution and federal statutes codify the procedures and dates

governing the transfer of presidential power in the United States. The Twelfth Amend ent

(requires presidential electors to meet in their respective states and certify distinct lists of all

(persons voted for as President, and of all persons voted for as Vice-President, and of the number

    f votes for each. It further requires that the Vice President shall, in the presence of the Senate

(and House of Representatives, open all the certificates and the votes shall then be counted. Title
{
i3. Section 15 of the United States Code provides that the United States Congress must convene

{during a joint session proceeding (“the Joint Session ) at 1:00 p.m. “on the sixth day of January


{succeeding
I           every meeting of the electors, with the Vice President presiding, to count the electoral
(votes, resolve any objections, certify their validity, and announce the result (“Certification of the

Electoral College vote ). The Twentieth A endment provides that the terms of the President and

Vice President shall accordingly end at noon on the 20th day of January, “ nd the ter s of their

successors shall then begin.

            Plot to Oppose by Force the 2020 La ful Transfer of Presidential Power

          2. The 2020 United States Presidential Election ( Presidential Election”) occurred on

(Nove ber 3, 2020. As of November 7, 2020, the incumbent President Donald J. Trump was

{projected to have lost the Presidential Election.

          3. After the Presidential Election, ELMER STEWART RHODES III conspired with

his co-defendants, introduced below, and other co-conspirators, kno n and unknown to the Grand
Jury, to oppose by force the lawf l transfer of presidential po er. RHODES, a resident of

Granbury, Texas, was the founder and leader of the Oath Keepers, a large but loosely organized

collection of individuals, some of whom are associated with militias. Some members of the Oath

Keepers believe that the federal govern ent has been coopted by a cabal of elites actively trying


jto strip American citizens of their rights. Though the Oath Keepers will accept anyone as
imembers, they explicitly focus on recruiting current and former military, law enforcement, and

first-responder personnel. The orga zation s na e alludes to the oath sworn by members of the

military and police to defend the Constitution from all enemies, foreign and domestic. On their

[website, the “Oath Keepers declare they will not obey unconstitutional orders.

           4. RHODES and certain co-conspirators, to include selected regional leaders, plar ed
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[to stop the lawful transfer of presidential power by January 20, 2021, which included multiple

jways to deploy force. They coordinated travel across the country to enter Washington, D.C.,
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equipped themselves with a variety of weapons, donned combat and tactical gear, and were
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jprepared to answer RHODES S call to take up arms at RHODES’S direction. Some co-
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    conspirators also amassed firearms on the outskirts of Washington, D.C., distributed them among

    “quick reaction force (“QRF ) teams, and planned to use the firearms in support of their plot to

    stop the lawful transfer of presidential power.

i Oath Keepers Attack the United States Ca itol on January 6,2021

           5. Beginning in late December 2020, via encrypted and private communications

    applications, RHODES and various co-conspirators coordinated and planned to travel to

    Washington, D.C., on or around January 6, 2021, the date of the Certification of the Electoral

    College vote. RHODES and several co-conspirators made plans to bring weapons to the area to

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    support the operation. The co-conspirators then traveled across the country to the Washington,

    D.C., metropolitan area in early January 2021.

            6. On January 6, 2021, the Joint Session convened at the Capitol building for the

    Certification of the Electoral College vote.

            7. A large crowd began to gather outside the Capitol perimeter as the Joint Session

    got underway at 1:00 p.m. Crowd members eventually forced their way throu h, up, and over

    United States Capitol Police barricades and advanced to the building s exterior fa ade. Shortly

    after 2:00 p.m., crowd members forced entry into the Capitol by breaking windows, ra ming open

jdoors, and assaultin Capitol Police and other law enforcement officers.

; 8. Around that time, RHODES entered the restricted area of the Capitol grounds and


jdirected his followers to meet him at the C pitol.
I 9. A ound 2:30 p.m., KELLY MEGGS, KENNETH HARRELSON, JESSICA

    WATKINS, JOSEPH HACKETT, DAVID MOERSCHEL, and other Oath Keepers members and

    affiliates many of whom were wearing pa amilitary clothing and patches ith the Oath Keepers

    name, lo o, and insignia marched in a stack formation ( Stack One ) up the east steps of the

    Capitol to the area outside of the Capitol Rotunda Doo s. At the time, the doors were closed and

    guarded by Capitol Police officers. Stack One joined a mob of people, some of whom attacked

    officers and tried to enter the Capitol while yelling, among other thin s, “Take their shields and

     Our house! Attackers assaulted officers using pe er spray, flagpoles, and numerous

[improvised weapons and projectiles. They also disarmed the officers by stealing their shields and
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pushing them away from the Rotunda Doors. At 2:38 p.m., the doors were breached, and Stack

One stormed into the Capitol alon side the mob. During the attack on the Capitol, the Rotunda

Doors and surrounding facade suffered damage worth thousands of dolla s.




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           10. Once inside the Capitol, Stack One entered the Rotunda and then split up. Half of

    Stack One tried to push their way through a line of law enforcement officers guarding a hallway

    that led to the Senate Chamber. Law enforcement officers forcibly repelled their advance. The

    participants in this half of Stack One regrouped in the Rotunda and then left the building. The

    other half of Stack One headed toward the House of Representatives, in search of S eaker of the

    House Nancy Pelosi. They did not find Speaker Pelosi and ultimately left the buildin .

           11. Later, another group of Oath Keepers and associates, including JOSHUA JAMES,

(ROBERTO MINUTA, a d BRIAN ULRICH, formed a second stack (“Stack Two ) and
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(breached the Capitol grounds, marching fiomthe west side to the east side of the Capitol building

    and up the east stairs. At around 3:15 p.m., JAMES and MINUTA breached the same Rotunda

    Doors that Stack One previously entered, and ULRICH followed shortly thereafter. Once inside,

    JAMES and MINUTA forced their way past law enforcement officers trying to guard the Rotunda.

    JAMES and MINUTA started shoutin at officers to “get out” of “my Capitol. JAMES violently

    pulled at and pushed his way past officers, forcin officers to deploy chemical spray in n effort

    to stop JAMES, MINUTA, and others from progressing into the Rotunda.

( 12. While certain Oath Keepers members and affiliates inside of Washington, D.C.,

    breached the Capitol grounds and building, others remained stationed just outside of the city in

    QRF teams. The QRF teams were prepared to rapidly transport firearms and other weapons into

    Washington, D.C., in support of operations aimed at using force to stop the lawful transfer of

(presidential power. The QRF teams were coordinated, in part, by THOMAS CALDWELL and
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[EDWARD VALLEJO.

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                                 RHODES S Co-Conspirators

       13. The Oath Keepers members and affiliates who conspired ith RHODES i cluded

the defendants listed below and others:

                                          Stack One

           a. KELLY MEGGS was a resident of Dun ellon, Florida, ho was the head of the

              Florida chapter of the Oath Keepers and used the monikers Gator 1 and “OK

               Gator 1, and led Stack One into the Capitol on January 6, 2021;

           b. KENNETH HARRELSON was a resident of Titusville, Florida, who assisted

              MEGGS in organizing the Florida Oath Keepers, used the moniker “Gator 6, and

              served as the “G ound Team lead for Stack One;

           c. JESSICA WATKI S was a resident of Woodstock, Ohio, who led the Ohio team

              of O th Keepers at the Capitol on January 6, 2021, and who used the monikers

              “Captain and “Cap”;

           d. JOSEPH HACKETT was a resident of Sarasota, Florida, who used the monikers

              “Ahab and “Faith”; and

           e. DAVID MOERS CHEL was a resident of Punta Gorda, Florida, who used the

              moniker “Hatsy.”

                                          Stack T o

           f. JOSHUA JAMES was a resident of Arab, Alabama, who used the moniker

              “Hydro,” and served as the leader of Stack Two on January 6,2021;

           g. ROBERTO MINUTA was a resident of Hackettstown, New Jersey, who

              coordinated directly with RHODES and assisted JAMES in leadin Stack Two on

              January 6, 2021; and




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h. BRIAN UL ICH was a resident of Guyton, Georgia, ho used the monikers

    Molon Labe and Bilbo.

          Quick Reaction Force Leaders and Coordinators

i. THOMAS CALDWELL was a resident of Berryville, Virginia, who used the

   monikers CAG, Spy,” and CAG Spy”; and

j. EDWARD VALLE JO was a resident of Phoenix, Arizona.




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                                           COUNT ONE
                                        (18 U.S.C. § 2384)
                                      (Seditious Conspiracy)

           14. Paragraphs 1 through 13 of this Indictment are re-alleged and incoi orated as

    though set forth herein.

                                          The Conspiracy

           15. From in and around November 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants.

                               ELMER STEWART RHODES HI,
                                    KELLY MEGGS,
                                   KEN ETH HARRELSON,
                                     JESSICA WATKINS,
                                      JOSHUA JAMES,
                                    ROBERTO MINUTA,
                                      OSEPH HACKETT,
                                    DAVID MOERSCHEL,
                                      BRIAN ULRICH,
                                  THOMAS CALDWELL, and
                                    EDWARD VALLE O,

jdid knowingly conspire, confederate, and agree, with other persons known and unknown to the
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[Grand Jury, by force to prevent, hinder, and delay the execution of any law of the United States.
                                    Purpose of the Conspiracy

           16. The purpose of the conspiracy was to oppose the lawful transfer of presidential
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po er by force, by preventing, hindering, or delaying by force the execution of the laws governing

the transfer of power, includin the Twelfth and Twentieth A endments to the Constitution and
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(Title 3, Section 15 of the United States Code.
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                                       Manner and Means

       17. The conspirators carried out the conspiracy through the following manner and

means, among others:

          a. Preparing for and coordinat ng travel to Was ington, D.C., to use force to stop the

              la ful transfer of presidential power;

          b. Organizing into teams that were prepared and illing to use force and to transport

              firearms and a unition into Washin ton, D.C.;

          c. Recruiting members and affiliates to participate in the conspiracy;

          d. Or anizin trainings to teach and learn paramilitary combat tactics;

          e. Bringin and contributing firearms, ammunition, and related equipment to the QRF

              stagin areas outside Washington, D.C.;

          f. Bringing and contributing pa amilitary gear, weapons, and supplies including

             knives, batons, camouflaged combat uniforms, tactical vests with plates, helmets,

             eye protection, and radio equipment to the Capitol grounds;

          g. Breaching and attempting to take control of the Capitol grounds and buildin on

             January 6, 2021, in an effort to prevent, hinder, and delay the Certification of the

             Electoral College vote;

         h. Using force against law enforcement officers while inside the Capitol on January

             6,2021;

          i. Continuing to plot, after January 6, 2021, to oppose by force the lawful transfer of

             presidential power; and

         j. Using websites, social media, text messaging, and encrypted messaging

             applications to communicate with co-conspirators and others.




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                               Acts in Furtherance of the Conspiracy

                                          November 2020

¦ 18. Beginning i November 2020, RHODES began dissemi ating essages o

: encrypted applications that e couraged his co-conspirators to oppose by force the lawful transfer

    of presidential po er. For example:

              a. On November 5,2020 two days after the Presidential Election RHODES sent a

1 messa e to an invitation-only, end-to-end encrypted group chat on the application

• Signal, titled, Leadership intel sharing secured ( Leadership Intel Chat ), which,
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                  at that point, included MEGGS and others. In his message, RHODES urged his

¦ followers to refuse to accept the election result and stated: “We aren t getting

i th ough this without a civil war. Too late for that. Prepare your mind, body, spirit.

              b. On Nove ber 7, 2020 the date that President Trump was projected to have lost

j the Presidential Election RHODES wrote to the Leadership Intel Chat: “[W]e
j
! must now do wh t the people of Serbia did when Milosevic stole their election. -
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; Refuse to accept it and march en-mass on the nation’s Capitol. He then sent a link
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i to a Bitchute.com video titled “STEP BY STEP PROCEDURE, HOW WE WON

i WHEN MILOSEVIC STOLE OUR ELECTIONS. RHODES continued:

i I am in direct context with the Serbian author of that video. His
! videos are excellent. Here is his written advice to us:
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' Peaceful protests, ood, well played round 1


j - A complete civil disobedience, they are not your representatives.
, They are FO EIGN puppet overnment.

: - Connect with the local police and start organize by neighborhoods
! to stay safe (we didn’t need this step)
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                       - We swarmed the streets and started confronting the opponents. I
                       know, not nice, but it must be done if the institutions stop to exist

                       - Millions gathered in our capital. There ere no barricades strong
                       enough to stop them, nor the police determined enough to stop them

                       - Police and Military aligne with the eople after few hours of fist¬
                       fight

                       - We stormed the Parliament

                       - And burned do n fake state Television!

                       WE WON!

i Later, on November 10, 2020, RHODES publicly published this plan of action
' under the headline WHAT WE THE PEOPLE MUST DO on the Oath Keepers


               website in a “Call to Action!

J 19. On November 9,2020, RHODES held a private GoToMeetin an online meeting

•site that allows users to host conference calls and video conferences via the Internet limited to

[Oath Keepers members, titled, “Oath Keepers National Call - Members Only, which as
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attended by MEGGS, HARRELSON, WATKINS, HAC ETT, and others, including a erson
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j hom RHODES appointed as the operation leader for January 6, 2021. During the meeting,

RHODES outlined a plan to stop the la ful transfer of presidential power, including preparations

for the use of force, and urged those listenin to participate.


j 20. Im ediately after that meetin , MEGGS sent a message to an invitation-only

jSignal roup chat titled, “OKFL Hangout” (“OKFL Hangout Chat”) including HARRELSON,
[HACKETT, MOERSCHEL, and others stating, “Anybody not on the call tonight. We have been
i

(issued a call to action for DC. This is the moment we signed u for....”). WATKINS also sent
messages to several people hom she referred to in her hone as “recruits,” informin them about




                                                 11
    a military st le basic training class her militia was or anizing for the beginning of January 2021

    to get these recruits “fighting fit by innaugeration.

i 21. On Nove ber 9, 2020, CALDWELL re ched out to RHODES to provide the
i
j results of a lengthy “recce [reconnaissance] trip he had taken into Washin ton, D.C., and to
    coordinate planning ith RHODES for an upcoming “op in Washington, D.C.

           22. On November 22, 2020, the Florida chapter of the Oath Keepers including

    MEGGS, HARRELSON, HACKETT, and others held a training on “unconventional warfare.”

                                              December 2020

           23. On December 11, 2020, RHODES sent a message to an invitation-only Signal

: group chat titled, “Dec 12 DC Security/Leadership,” which included JAMES, MINUTA, and

I others. RHODES stated that if President-Elect Biden were to assume the presidency, “It will be a

(bloody and desperate fight. We are going to have a fight. That can t be avoided?

' 24. On December 12, 2020, the North Carolina chapter of the Oath Keepers held a

jtraining session that, according to the leader of the chapter, would be focused on:

           vehicle operations,, road blocks,, vehicle recovery, convoy operations,,.. . setting
¦ up hasty ambushes,, and reacting to a bushes, but the first thing we are going to
• do is fall into a formation when we assemble....
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(WATKINS planned to, but did not, attend that training.

• 25. On Dece ber 1 , 2020 the sa e day that presidential electors from each state

    and the District of Columbia cast their votes in the Presidential Election RHODES published a

    letter on the Oath Keepers website advocating for the use of force to stop the lawful transfer of

    presidential power.




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            26. The same day, RHODES sent a similar message to a i vitation-only Signal group

    chat titled, Oath Keepers of Georgia. ULRICH responded, “Well I m not a soldier but I’m

    focused and I stayed at aholiday inn once! so it’s game on time! I

            27. On December 19,2020, HACKETT sent an email to another member of Stack One

    with the subject line, test. In the email, HACKETT rote, I believe we only need to do this

    when important info is at hand like locations, identities. Ops planning. Attached to the email was

    a photograph that showed cursive handwriting on a lined notepad that stated, “Secure Comms Test.

    Good talk toni ht guys! Rally Point in Northern Port Charlotte at Grays if transportation is

    possible. All proton mails. May consider an RP that won’t bum anyone. Com s work in

    progress. Messages in cursive to eliminate digital reads. Plans for recruitment and meetings.

i 28. Also on December 19, 2020, MINUTA messaged another individual, “Oath
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    Keepers president is pretty disheartened. He feels like it’s go time, the time for peaceful protest is

jover in his eyes. I was talking with him last night.

i 29. On December 21, 2020, JAMES osted a message to the Leadership Intel Chat,
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jwhich at that oint included MBGGS, JAMES, WATKINS, and others, stating, “SE Re ion is
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    creating a NATIONAL CALL TO ACTION FOR DC JAN 6TH.... 4 states are mobilizing[.]

    When he did not receive an i ediate response, JAMES posted, “ ID NO ONE HEAR ME!!!!

3 STATES ARE MOBILIZING TO DC!!! Everyone in this channel should understand the
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(magnitude i just sent!!
           30. On December 2, 2020, in an interview with a regional Oath Keepers leader,

RHODES stated that if President-Elect Biden were able to assume the presidency, “We will have

jto do a bloody, massively bloody revolution against them. That’s what’s going to have to happen.

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                                                     13
    He urged President Trump to use military force to stop the lawful transfer of presidential po er,

    describing January 6,2021, as a hard constitutional deadline to do so.

           31. On December 23, 2020, RHODES published another open letter on the Oath

Keepers website. RHODES explained, tens of thousands of patriot A ericans, both veterans and

non-veterans, will already be in Washington D.C., and any of us will have our mission-critical

     ear sto ed nearby just outside D.C. RHODES stated in the open letter that he and others may

have to “take to arms in defense of our God given liberty.

           32. On December 23,2020, J MES sent RHODES S letter to a co-conspirator and told


jhim the letter was required reading.

| 33. RHODES continued advocating for the use of force to stop the lawful transfer of
jpresidential po er with MEGGS, HARRELSON, HACKETT, MOERSCHEL, and others in the


|OKFL Hangout Chat.
' 34. On December 25, 2020, MEGGS messaged the OKFL Hangout Chat, in reference

[to the Joint Session, “We need to make those senators very uncomfortable with all of us being a

few hundred feet away. RHODES then wrote, “I think Con ress ill screw him [President

iTrump] over. The only chance we/he has is if e scare the shit out of them and convince them it

[will be torches and pitchforks time is they don t do the right thing. But I don’t think they will
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Listen.
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           35. On December 26, 2020, a member of Stack One attempted to arrange a trainin
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jclass and wrote an email to a Florida company that conducts training on firearms and combat. The
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[Stack One member wrote, in part, “I trained with you not long ago. Since then I have joined Oath
Keepers. I recommended your trainin to the team. To that effect, four of us would like to train
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j ith you, specifically in your UTM nfle class.

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           36. On December 29,2020, WATKINS texted a co-conspirator, We plan on going to

    DC on the 6th[.]

> 37. On December 30, 2020, RHODES purchased two night-vision devices and one

    weapon sight for approxi ately $7,000 and shipped the items to another individual in Vir inia,

    near Washington, D.C., where they arrived on January 4,2021.

           38. St rting on December 30, 2020, RHODES administered an invitation-only Si nal

     roup chat titled, DC OP: Jan 6 21 (“Leadership Signal Chat ). MEGGS, HARRELSON,

(WATKINS, JAMES, MINUTA, HACKETT, ULRICH, VALLEJO, and others were invited to

J and joined the Leadership Signal Chat.

¦ 39. Later, MEGGS, HARRELSON, WATKINS, HACKETT, MOERSCHEL, and

(others joined an invitation-only Signal roup chat titled, “OK FL DC OP Jan 6 “Florida Signal
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IChat ). MEGGS and HARRELSON were the ad inistrators of the Florida Signal Chat.
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I 40. RHODES and his co-conspirators used the Leadership Intel Chat and other Signal
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     roup chats to plan for January 6, 2021. On December 31, 2020, at approximately 10:08 p.m.,

    RHODES rote to the Leadership Intel Chat, “There is no standard political or legal way out of

 this.
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! 41. On December 31, 2020, UL ICH sent essages to the Leadership Signal Chat
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¦relatin to firearms: “So eone can tell me if I m crazy but I’m planning on having a backpack for


jregular
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         use and then a separate backpack with my am o load out with some basics that I can just
[switch too is shit truly the fan blades.... ULRICH added, “I will be the guy running around ith
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[the budget AR.
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           42. On December 31, 2020, MEGGS sent Facebook essages to another person who

    intended to travel to Washington, D.C., on January 6, 2021: You guys Gonna carry? and “Ok

; e aren t either, we have a heavy QRF 10 Min out though.

           43. On December 31, 2020, JAMES received a Signal essage fiom another person,

    which stated, “i have friends not far from DC with a lot of wea ons and ammo if you get un trouble



j i ca. Coordinate help.” JAMES responded, “That might be helpful, but we have a shitload of QRF
    on standby with an arsenal.

           44. On December 31, 2020, an Arizona QRF team member messa ed RHODES on

I Signal that the tea member, VALLEJO, and others were coming to Washington, D.C., and that

; “everyone comin has their own technical equipment and knows how to use it,” adding a “winky
l
iface emoji. RHODES responded, “awesome!” The Arizona QRF team ember also said that

i the group would have “rifles” and “man power.”


! 45. In late December, CALDWELL identified the Comfort Inn Ballston, in Arlington,

j Virginia, as the location that the QRF would use as its base of operations for January 6, 2021.
'[CALDWELL shared the location of the hotel with WATKINS and the QRF team leader for the


    North Carolina Oath Keepers group that traveled to Washington, D.C., for January 6, 2021. The

North Carolina QRF team leader reserved three rooms and paid for one of the rooms; MEGGS

(paid for the other two rooms. One room was occupied by the North Carolina QRF team the second

|room was occupied by the Arizona QRF team, including VALLEJO; the third room was occupied
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|by the Florida QRF team. These QRF teams used the rooms to store and guard the firearms that
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[they and other co-conspirators contributed to the QRF.
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                                                   16
                                            January 2021

           46. On January 1,2021, ULRICH messaged JAMES on Signal, Hey we told to bring

    guns and maybe stage them in VA?? But you are showin hotels in DC for Alaba a. Are we

    bring guns or no if so how will that work? JAMES responded, “Were working on a Farm location

    Some are bringing long rifles some sidearms... I m bringing sidearm.

i 47. On January 1 and 2, 2021, RHODES spent approximately $5,000 on firearms and

jrelated equipment, including a shotgun, scope, magazines, sights, optics, a bipod, amount, a case
i
    of ammunition, and gun-cleaning supplies.

           48. On January 2, 2021, WATKINS messaged the Leadership Signal Chat about

i assigning roles to individuals on her team, including operating HAM radios.

i 49. On the morning of January 2,2021, MEGGS messaged the Leadership Signal Chat,

(“Good call last night. Lots covered, I ll get with NC tea today and find out QRF loc tion[.]

! 50. On Janu ry 2,2021, RHODES messaged MEGGS on Signal, “If you want to stow

[weapons with [the operation leader] you can. He’ll have a secure car trunk or his hotel room (or
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jmine). MEGGS responded, “Last night call... we discussed a QRF RP so we may do that. As
[well as the NC team has a hotel room close by. RHODES messaged, “Ok. We WILL have a
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    QRF. this situation calls for it.

! 51. On Janu ry 2, 2021, CALDWELL received a essage from the North Carolina

[QRF team leader, stating “FLA. 2 men back[.] 12 to 15 going in DC.

[ 52. On the evening of January 2,2021, MEGGS posted a map of Washington, D.C., in


|the Leadership Signal Chat, along with the essage, “1 if by land[,J North side of Lincoln
[Memorial [,] 2 if by Sea[,] Comer of west basin and Ohio is a water transport landin !! MEGGS


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continued, QRF rally pointsf.] Water of the bridges get closed. In response, the North Carolina

QRF team leader wrote, My sources DC working on procurin Boat transportation as we speak.

        53. On January 2, 2021, CALD ELL sent messa es to his contacts about seeking

i boats in support of the QRF. In one messa e, CALDWELL said:

| Can t believe I just thought of this: how any people either in the militia or not
! (who are still supportive of our efforts to save the Republic) have a boat on a trailer
        that coud handle a Potomac crossing? If we had someone standing by at a dock
        ram (one near the Pentagon for sure) we coul have our Quick esponse Tea
        with the heavy weapons standin by, quickly load them and ferry them across the
        river to our waitin arms ... if it all went to shit, our guy loads our weps AND Blue
        Ridge Militia weps and ferries them across.

        54. On J nu ry 3,2021, MEGGS added HARRELSON to the Leadership Signal Chat

land wrote that HARRELSON would serve as the Ground Team lead.”

        55. On January 3, 2021, WATKINS and a co-conspirator discussed uniforms and

i weapons:

! WATKINS:                            We are not bringin firearms. QRF will be our Law
i                                     Enforcement members of Oathkeepers.

1
1 Co-Cons irator:                     Good to know.


        WATKINS:                      Pack Khaki/Tan pants. Weapons are ok now as well.
i                                     Sorry for the confusion. We are packing the car and
                                      heading your ay shortly

        Co-Conspirator:               We don’t have any khakis We have jeans and our
                                      b d u’s So I can brin my un?

        56. On January 3, 2021, MEGGS messaged the Leadership Signal Chat, “Ammo


(situation: Are we bringing or are we set at QRF? I mean I’m always gonna have a couple hundred.
I
|But if SHTF we got ample availability. The same day, MEGGS messaged the Florida Signal

[Chat, A mo situation. I am checking on as far- as what they will have for us if SHTF. I’m onna




                                                 18
    have a few thousand just in case. If you ve got it doesn t hurt to have it. No one ever said [,] shit

    I brought too much.

           57. On January 3, 2021, RHODES departed Granbury, Texas, and began traveling to

    the Washington, D.C., metropolitan area. While travelin , RHODES spent approximately $6,000

    in Texas on an AR-platform rifle and firearms equipment, including sights, mounts, triggers,
I

    slings, and additional firearms attachments.

           58. On January 4, 2021, WATKINS asked the Florida Signal Chat, Where can e

    drop off weapons to the QRF team? I’d like to have the weapons secured prior to the Op

itomorrow.

           59. On January 4,2021, VALLEJO messaged MEGGS, “Sir, Ed Vallejo of Arizona in

¦Tenn. With cadre requestin coordinates to Allied encampment outside DC boundaries to

[rendezvous. Please respond ASAP. For the Republic.
I

j 60. On January 4, 2021, CALDWELL sent an email to the North Carolina QRF team

[leader with the subject line, “NEW MAPS RELATIVE TO HOTEL AND INGRESS FO QRF,
i
land attached several maps as image files.

> 61. On Januai 4, 2021, while still traveling toward the Washin ton, D.C.,

[metropolitan area, RHO ES spent approximately $4,500 in Mississippi on firearms equipment,


[including sights, ounts, an optic plate, a ma azine, and various firear s parts.
! 62. Between Januar 1 and 5,2021, RHODES, MEGGS, HARRELSON, WATKINS,

JAMES, HACKETT, MOERSCHEL, ULRICH, VALLEJO, and other co-conspirators tr nsported
i



[firearms, ammunition, nd related items to the Washington, D.C., metropolitan area.
[ 63. On January 5, 2021, HARRELSON messa ed the Florida Si nal Chat and asked

for the location of the QRF hotel, and MEGGS responded by asking for a direct message.
I




                                                    19
           64. On January 5, 2021, VALLEJO text messaged MEGGS, Sir, this is Ed Vallejo.

    We ust have copied your number incorrectly as we never received response to our text requestin

    c mpground address. We made it as far as Wytheville VA & had to get a room. Please text

    location so we will know where to begin in the morning. Thank you kindly. MEGGS responded

    with a text message providing the ddress of the Comfort Inn Ballston.

           65. On Janu ry 5,2021, as MEGGS and co-conspirators were unloading their weapons,

he messaged RHODES, “Yes we are just outside of town unloading at QBE on our way in. Left

    [the North Carolina Oath Keepers leader s] place at 4:30am[.]

           66. On January 5, 2021, CALDWELL, usin Google Maps on his mobile device,

mapped a route between the Capitol building and an address one block from the Comfort Inn

Ballston.
I
j 67. On January 5,2021, CALDWELL and others drove into Washin ton, D.C., around

|the Capitol, and back to their hotel in Virginia. CALDWELL described the trip as “recce, or a
i
reco naissance mission.

! 68. On January 5, 2021, JAMES dropped off firearms and ammunition that he,

ULRICH, and other co-conspirators had transported to the Hilton Garden Inn in Vienna, Virginia,


[where RHODES, JAMES, MINUTA, and others were staying.
\ 69. On January 5, 2021, MEGGS, HARRELSON, HACKETT, MOERSCHEL,

[CALDWELL, nd others provided the QRF, inclu ing VALLEJO, with firearms, a unition,
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[and related items.


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                                                 20
                                             January 6,2021

       A. The Co-Conspirators Communicate and Pre are to Head to the Capitol

           70. On the morning of January 6, 2021, at approximately 6:27 a.m., RHODES

, messaged the Leadership Signal Chat; We will have several well equipped QRFs outside DC.

    And there are many, many others, fro other groups, who will be watching nd waiting on the

    outside in case of worst case scenarios. At approximately 8:30 .m., RHODES, the operation

    leader, and others departed a hotel in Virginia for Washington, D.C., and drove to the Capitol a ea.

           71. VALLEJO and others were on standby at the Co fort Inn Ballston, monitoring

; com unications from the co-conspir tors on the ground inside Washington, D.C., and aw iting a

i call to bring the weapons to the co-conspirators. On a podcast that morning, VALLEJO and an

[Arizona Q F team ember discussed the possibility of “armed conflict and “guerilla war and

I explained that “there are people who are prepared, have the will, have the facilities to do more than

i taunt.
i
I

» 72. CALDWELL and others also marched to the Capitol, ultimately to the west side.

! 73. HARRELSON and another member of Stack One went to the Capitol in advance
J
j of the rest of Stack One.

I 74. Other members of Stack One includin MEGGS, WATKINS, HACKETT,

    MOERS CHEL, and others equipped themselves with communication devices and reinforced
I
{vests, helmets, goggles, and other tactical gear. Then they marched to the Capitol, ultimately to
I
{the east side.
I

{ 75. Stack Two consisting of JAMES, MINUTA, ULRICH, and others equipped


{themselves with battle apparel and gear, including hard-knuckle tactical gloves, t ctical vests,
ballistic go gles, radios, chemical sprays, a paracord attachment, fatigues, goggles, scissors, a




                                                    21
    large stick, and one of the Stack Two member s 82-pound German Shepherd named Warrior.

    Stack Two sped to the area nea the Capitol on olf carts a d then marched onto the Capitol

    grounds, ultimately to the east side.

           76. The co-conspirators and others communicated on the Leadership Signal Chat and

i via other means.

! B. RHODES, Stack One, and Others Breac the Capitol Grounds and Building

           77. Just before 1:30 p.m., on the Leadership Intel Chat, in response to claim by an

    Oath Keepers affiliate that Antifa had breached the Capitol, RHODES replied, Nope. I m ri ht

'here. These are Patriots. RHODES then messaged the Leadershi Signal Chat, “Pence is doing

[nothin . As I predicted. RHODES added, “All I see Trump doing is co pl ining. I see no intent

I by him to do anything. So the patriots are taking it into their own hands. They’ve had enou h.

           78. At approximately 1:30 p.m., Oath Keepers affiliates on the Leadership Intel Chat
I
|posted messages about police officers deploying pepper spray at the Capitol and questioned what

I the rioters hoped would happen if they got inside the Capitol. A person with RHODES at the time
I
[responded, “We are acting like the founding fathers - can’t stand down. Per Stewart and I
i concur[.] RHODES followed:
I
i Hey, the founding generation stormed the governors ansion in MA and tarred and
{ feathered his tax collectors. And they seized and du ped tea in water.
; They didn’t fire on them, but they street fought. That’s where we are now.
! Next comes our “Lexington .

; It’s coming.
I
I

! 79. Shortly before 2:00 p.m., on an invitation-only Si nal group chat titled, “Jan 5/6
i
    DC Op Intel team which included RHODES, JAMES, and others- a participant posted a link

to a video titled “live stream of patriots storming capital. Another pa ticipant asked, “Are they

    actually Patriots - not those who were oing to go in dis uise as Patriots and cause trouble[?]


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                                                  22
    RHODES responded, Actual Patriots. Pissed off patriots [.] Like the Sons of Liberty were pissed


| off patriots[.J JAMES followed with, Were coming to Capitol ETA 30 MIN[.]
         80. Around this same time, hile MEGGS, WATKINS, HACKETT, MOERSCHEL,
I



| and others were marching toward the Capitol, WATKINS ade an announcement on the “Stop
    the Steal J6 channel on Zello, an application that emulates push-to-talk walkie-talkies over

    cellular telephone networks: “It has spread like wildfire that Pence has betrayed us, and

    everybody s marching on the Capitol. . . We have about 30-40 of us. We are sticking together

    and sticking to the plan.

: 81. At 2:00 p. ., WATKINS stated on the “Stop the Steal J6 Zello chan el, “Y all,

i we’re one block away from the Capitol right now. I’m probably gonn go silent hen e get


jthere, because I’m gonna be a little busy.
           82. Shortly after 2:00 p.m., HARRELSON and a co-conspirator joined the mob that

(first breached the barricades on the east side of the Capitol and rushed toward the steps that lead
J

     p to the east side Rotunda Doors. The co-conspirator with HARRELSON maneuvered his way

¦to the front of the crowd and pulled on the arm of one of the Capitol Police officers who had


jreassembled a police line on the steps to try to keep the crowd at bay. The officer pushed the co-
!
.conspirator away. HAR ELSON and the co-conspirator remained on the steps as the crowd
I

pushed the police line fu ther back up the steps toward the east side Rotunda Doors.

; 83. At around 2:12 p.m., RHODES entered the restricted Capitol rounds on the
I

northeast side of the Capitol.

: 84. At 2:14 p.m., the operation le der for January 6, 2021, wrote to the Leadership
I

    Signal Chat, “The have taken ground at the capitalf.] We need to re roup any members who are

not on ission.




                                                 23
            85. At 2:21 p.m., MEGGS, WATKINS, HAC ETT, MOERSCHEL, and others

    unlawiully entered the restricted Capitol grounds. Shortly thereafter, the roup aused and

    gathered in a circle.

            86. At 2:24 p.m., while staged at the Comfort Inn Ballston, VALLEJO messaged the

    Leadership Signal Chat, Vallejo back at hotel and outfitted. Have 2 trucks available. Let me
i
    kno how I can assist.

            87. At 2:24 .m., RHODES called MEGGS, but the call went to voicemail.

            88. At 2:24 p.m., RHODES sent MEGGS a message stating, “Go to SOUTH side of

j'US Capitol, followed by another message stating, “That s where I am going. To link up with [the

joperation leader].”
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I

            89. At 2:25 p.m., RHODES forwarded the operation leader s message (“The have taken

jground at the capital[.] We need to regroup any members who are not on mission.”) to the

jLeadership Signal Chat and instructed his co-conspirators: “Come to South Side of Capitol on
>

[steps” and then sent a photograph showing his location on the east side of the Capitol.

: 90. Shortly thereafter, MEGGS, WATKINS, HACKETT, MOERSCHEL, and others


(continued walking northbound along the exterior of the Capitol and then entered the plaza in front
    of the east side of the Capitol.

           91. At 2:32 p.m., MEGGS, WATKINS, HACKETT, MOERSCHEL, and others stood

(in a roup on the east plaza in front of the Capitol.
!

           92. At 2:32 p.m., MEGGS placed a phone call to RHODES, who was already on the

(phone with the operation leader. RHODES conferenced MEGGS into the call.

           93. At 2:35 p.m„ MEGGS, WATKINS, HACKETT, MOERSCHEL, and others joined

(together to form Stack One and maneuvered in an organized fashion up the steps to the east side




                                                 24
    Rotunda Doors each member keeping at least one hand on the shoulder of the other in front of

    them.

             94. HARRELSON joined Stack One when it reached the top of the steps.

[ 95. At the top of the steps, Stack One pushed forward as part of a mob that aggressively

    advanced toward the Rotunda Doors, assaulted the law enforcement officers guarding the doors,

threw objects and sprayed chemic ls to ard the officers and the doors, and pulled violently on the

    doors.


             96. At 2:38 p.m., VALLEJO messaged the Leadership Signal Chat, QRF standing by

(at hotel. Just say the word...

             97. At 2:39 p.m., a member of Stack One joined the crowd in forcibly pushing against

jone of the Rotunda Doors and the law enforcement officers guarding that door. The mob then

[breached the doors and the Stack One member entered the building.

             98. Shortly after the mob breached the Rotunda Doors, MEGGS, HARRELSON,
J
[WATKINS, HACKETT, MOERSCHEL, and others forced their way through the doors into the
i
jCapitol.
I

i 99. As they entered the Capitol, MEGGS, HARRELSON, WATKINS, HACKETT,

      OERSCHEL, and others joined the larger mob in pushing past t least one law enforcement

[officer ho was tryin to stop the attack on the Capitol.
i

! 100. After penetrating the Capitol, MEGGS, HARRELSON, WATKINS, HACKETT,
I



jMOERSCHEL, and others moved into the Rotunda.
| 101. As they navigated through the Rotunda, MEGGS, HARRELSON, WATKINS,

HACKETT, MOERSCHEL, and others remained in st ck formation by keeping their hands on

each other s backs.

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           102. At 2:44 p.m., WATKINS stated on the Stop the Steal J6 Zello channel, “We are

    in the mezzanine. We are in the main dome right ow. We are rocking it. They are throwing

     renades, they are tricking shootin people with paint balls. But we are in here. In response,

    another member of the channel said, “Get it, Jess. Do your fucking thing. This is what we fucking

    [unintelligible] up for. Everything we fucking trained for.”

! 103. Shortly thereafter, WATKINS and other members of Stack One exited the Rotunda

    through the northbound hallway toward the Senate Cha ber.

           104. Around this time, a member of Stack One yelled “the fight s not over and waved

•rioters down the hallways tow rd the Senate Chamber.

; 105. At 2:45 p.m. and afterward, WATKINS and other Stack One members joined the

jmob in pushing a ainst a line of law enforcement officers guarding the hallway connectin the
I



(Rotunda to the Senate Chamber, as WATKINS co anded those around her to “push, push,

(push, and to, “get in there, get in there, while exclaiming, “they can t hold us. When officers
responded by deploying a chemical spray, the mob including WATKINS and other Stack One

    members retreated.

| 106. At 2:45 p.m., MEGGS, HARRELSON, HACKETT, MOERSCHEL, and other

    Stack One members wal ed southbound out of the Rotunda and toward the House of

[Representatives in search of Speaker Pelosi. They did not find Speaker Pelosi.

! 107. Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,
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(joined ith others in storming past barricades and climbin stairs up to a balcony in the restricted
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    area on the west side of the Capitol building.



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            108. At 3:09 p.m., another individual messaged the Leadership Signal Chat that the

     news is reporting Congress given gas masks and are trying to get out. RHODES responded,

    “fuck embefore posting a photo raph of people stormin the Capitol.
i
        C. Stack Two and Others Breach the Capitol Building

            109. Between 2:00 p.m. and 2:30 p.m., JAMES, MINUTA, ULRICH, and others

    discussed the fact that individuals had breached the Capitol. MINUTA stated words to the ef ect

    of, “Now we re talking, that’s what I came up here for! JAMES then instructed the group to get

• their gear and get ready to head to the Capitol. The group departed then hotel and headed toward
I


J the Capitol.

            110. Between 2:30 p.m. and 2:33 p.m., JAMES, MINUTA, ULRICH, and others rode


jin olf carts toward the Capitol, at times swerving around law enforcement vehicles, with

[MINUTA live-streamin their conduct over Facebook and statin :
I
j Patriots are storming the Capitol building; there’s violence gainst p triots by the
¦ D.C. Police; so we’re en route in a grand theft auto golf cart to the Capitol building
• right now ... it’s oing do n, guys; it’s literally going down right now Patriots
[ storming the Capitol building ... fucking war in the streets right now . . . word is
! they got in the building ... let’s go.

• 111. At 2:33 p.m., JAMES, MINUTA, ULRICH, and others parked the golf carts near

[the Capitol.
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• 112. At 2:33 p.m.? JAMES placed a phone call to the operation leader for January 63
i
12021.
J
            113. JAMES, MINUTA, ULRICH, and others then marched toward the Capitol and

    entered the restricted areas of the Capitol grounds.

i 114. When they arrived on the Capitol grounds, JAMES, INUTA, ULRICH, nd
I
(others j oined together to form Stack Two and maneuvered their way through the crowd by keepin




                                                     27
    their hands on each other s shoulders or gear, eventually moving around the Capitol building and

    toward the east side.

           115. MINUTA with JAMES, ULRICH, and the other members of Stack Two standing

| nearby aggressively berated and taunted law enforcement officers who were uarding the


j erimeter of the Capitol building and threatened the officers that they were outnumbered.
           116. Shortly after 3:00 p.m., JAMES told Stack Two members something to the ef ect

    of they re oing in over there, let s o! Let’s get up there! JAMES then led MINUTA,

.ULRICH, and the other embers of Stack Two up the central steps on the east side of the Capitol.

           117. At 3:15 p.m., JAMES, MINUTA, and one other member of Stack Two forcibly


[entered the Capitol buildin through the same east side Rotunda Doors th t Stack One entered
iabout 35 minutes earlier. Before entering, JAMES stated, “We’re going in, and MINUTA
I
i
[responded, “Hell yeah! When he entered the Capitol, MINUTA was still armed with the chemical

!spray and other tactical gear.

[ 118. While entering the Capitol building, JAMES and MINUTA pushed past Capitol

jPolice officers who placed their hands on JAMES and MINUTA in unsuccessful attempts to stop
I



[them from advancing toward the Rotunda.
< 119. At 3:17 p.m., upon reaching the otunda, JAMES and MINUTA joined alongside

jothers in a mob confronting and jostlin with a line of law enforcement officers, which formed a

    barrier between the lobby and the Rotunda. MINUTA, standing behind JAMES and recording the
>

(events with a camera, began yelling, “This is what’s bound to ha pen, just get out! Get out! Get

(these cops out! It’s our fucking buildin ! Get em out, get out! JAMES grabbed the vest of J.M.,

(a Metropolitan Police Department Officer enga ed in the performance of his official duties, and
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[JAMES pulled J.M. toward the ob. Other officers behind J.M. grabbed J.M.’s vest and pulled
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i
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                                                  28
    him back into the line of officers. While pulling J.M., JAMES yelled, Get out of my Capitol!

    Get out! Get out of my Capitol! JAMES fell backward and then ju ped and pushed forward to

i the officers repeatedly, continuing to yell This is my fucking building! This is not yours! This

j is my Capitol!” Other members of the mob, includin MINUTA, began pushing JAMES forward
I

| into the Rotunda while JAMES yelled, “Keep going!”

' 120. JAMES and MINUTA briefly breached the Rotunda. JAMES was expelled by at

    least one officer ho aimed chemical spray directly at JAMES, nd multiple officers who pushed

[him out from behind.

           121. At 3:19 p.m., while exiting the Capitol through the sa e east side Rotunda Doors

I that he had previously entered, MINUTA yelled at a law enforce ent officer.
i

: 122. At 3:21 p.m., ULRICH and other members of Stack Two entered the east side

(Rotunda Doors.
I
! D. Co-Conspirators Meet Immediately After Breaching the Capitol

! 123. At 3:30 p.m., RHODES messaged the Leadership Signal Chat, “Anyone in DC ho

iis not tasked with a security detail, come yo US Capitol on the Supreme Cou t side. Come to
I


jCapitol on the NE comer.”
           124. fter exiting the Capitol, MEGGS, HARRELSON, WATKINS, JAMES,
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jMINUTA, HACKETT, MOERSCHEL, ULRICH, and others athered ith HODES just outside

jthe Capitol.
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           E. Co-Conspirators Continue Plotting After the January 6 Attack on the Capitol

            125. That evening, RHODES, JAMES, VALLEJO, and others met at a restaurant in

    Vienna, Virginia, to celebrate their attack on the Capitol and discuss next steps.

i 126. Throughout the evenin of January 6,2021, the co-conspirators discussed the need

    to continue fighting to stop the lawfill transfer of presidential power:

                a. At 7:30 p.m., RHODES messaged the Leadership Signal Chat, Thousands of

                   ticked off patriots spont neously marched on the Capitol... You ain t seen nothing

                   yet.

; b. VALLEJO messaged the Leadership Si nal Chat, “WeTl be back to 6am to do it

' a ain. We got food for 30 days. He added, “We have only [begun] to fight! and

: “ After Action Reports will be dated 1/21/21.

; c. MEGGS added on the Leadership Signal Chat, We aren’t quitting!! We are

! reloading!!

i d. RHODES explained that “Patriots entering their own Capitol to send a message to
I
I
' the traitors is NOTHING compared to what’s coming.

! 1 7. On January 7,2021, at 5:46 a.m., VALLEJO essaged the Leadership Signal Chat,

;“We are going to probe their defense line right now 6 am they should let us in. WeTl see. At

>5:54 a.m., he stated, “Departing for Recon now. Stewart call me when you’re up. About ten
I
i
(minutes later, VALLEJO continued, I ll depart when cleared by my Com ander Sir. Be well,
I

jand peace be with you.
• 128. On January 11,2021, WATKINS e changed the following Facebook message with
t
ja co-conspirator:

: Co-Conspirator: I m with you Cap. Keep the faith. We will have our answers
! by the 20th.
i


                                                     30
           WATKINS: We ve been organizing a bu out plan if the usurper is
                         installed...Something like 20+ Oathkeepers going to
                         Kentucky mountains on hundreds of acres apparently...Be
                                 like the NVA and network tunnels.

j 129. In the weeks after January 6,2021, R ODES purchased a large volume of firearms

    and related equipment:

              a. On January 10, 2021, RHODES spent approximately $6,000 on sights, bipods, a

                  scope, mounts, backpacks, a gun grip, a magazine pouch, and other related items.

              b. On January 11,2021, RHODES spent over $1,500 on scopes, ma azines, and other

                  items.

              c. On January 12, 2021, RHODES spent nearly $7,000 on hundreds of rounds of

¦ am unition, duffel bags, magazines, rifle scopes, a scope mount, a gun li ht, and
I


                  other items.
I
I
! d. On January 13,2021, RHODES spent approximately $1,000 on firearms parts.
i
I e. From January 14 through 19,2021, RHODES spent over $2,000 on fire rms arts,
i
                  mounts, magazines, a scope leveler, targets, ammunition, a gun case, holsters, and

! gun- aintenance equipment, among other items.

¦ 130. In the weeks after January 6, 2021, JAMES met with RHODES in Alabama,
f

(collected what he referred to as all available firea ms, and traveled to Texas where he stayed

[with RHODES and others.

¦ 131. On January 10,2021, JAMES sent MEGGSamessage asking if MEGGS and other
i
(Florida Oath Keepers were co in to Texas, and MEGGS responded, “Fl stays home until shots

[fired ! That same day, ULRICH messaged JAMES on Signal that he and RHODES should stay
J
i“below the radar.




                                                  31
        132. On January 12, 2021, while in Texas on the drive back to Arizona from the

Washington, D.C., area, an Arizona QRF team member messaged RHODES, Hi Stewart. I m

sure you’re busy[] but wanted to let you know that [VALLEJO] and I are here.... We are excited

to learn next steps nd would like to know what we should be doing ri ht now.

        133. On Inauguration Day, January 20, 2021, JAMES messaged another individual,

“After this...if nothing happens...its war.. .Civil War 2.0.

        134. Around this time, HODES messaged others to organize local militias to oppose

ipresident Biden’s Administration.

                   (In violation of Title 18, United States Code, Section 2384)




                                                32
                                             COUNT TWO
i (18 U.S.C. § 1512(k))
                         (Conspiracy to Obstruct an Official Proceeding)

        135. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and

j incorporated as though set forth herein.

        136. From in and around December 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendants,

        ELMER STEWART RHODES HI,
i KELLY MEGGS,
          KEN ETH HA RELSON,
            JESSICA WATKINS,
             JOSHUA JA ES,
                                         OBERTO MINUTA,
          JOSEPH HACKETT,
         DAVID MOERSCHEL,
! BRIAN ULRICH,
                                   THOMAS CALDWELL, and
                                      EDWARD VALLEJO,

Idid kno ingly combine, conspire, confederate, and agree with each other and other persons known


jand unknown to the Grand Jury, to corruptly obstruct, i fluence, and impede an official
!
proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United

States Code, Section 1512(c)(2).
i
I (In violation of Title 18, United States Code, Section 1512(k))




                                                 33
| COUNT THREE
                                       (18 U.S.C. §§ 1512(c)(2), 2)
                  (Obstruction of an Official Proceeding and Aiding and Abetting)

           137. Paragraphs 1 throu h 13 and 18 throu h 134 of this Indictment are re-alleged and

    incoiporated as though set forth herein.

           138. On or about January 6, 2021, in the District of Columbia and elsewhere, the

    defendants,

                                  ELMER STEWART RHODES HI,
                                       KELLY MEGGS,
                                      KENNETH HARRELSON,
           JESSICA WATKINS,
            JOSHUA JAMES,
           ROBERTO MINUTA,
           JOSEPH HACKETT,
. DAVID MOERSCHEL,
¦ B IAN ULRICH,
         THOMAS CALDWELL, and
i EDWARD VALLEJO,
i

iattempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

    Certification of the Electoral College vote, and did aid and abet other persons known and un nown

!to the Grand Jury to do the same.
i
i (In violation of Title 18, United States Code, Sections 1512(c)(2), 2)




                                                   34
                                               COUNTFOUR
                                               (18 U.S.C. § 372)
                  (Conspiracy to Prevent an Officer from Discharging Any Duties)

           139. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alle ed and

    incorporated as though set forth herein.

I 140. From in and around December 2020, t rou h in and around Ja uary 2021, in the
i
    District of Columbia and elsewhere, the defendants,

                                  ELMER STEWA T HODES HI,
                                           KELLY MEGGS,
                                      KENNETH HARRELSON,
                                        JESSICA WATKINS,
                                         JOSHUA JA ES,
                                        ROBERTO MINU A,
                                        JOSEPH HACKETT,
                                       DAVID MOERSCHEL,
                                          BRIAN ULRICH,
' THOMAS CALDWELL, and
                                        EDWARD VALLE O,

(did kno ingly conspire and agree together and with each other to prevent by force, inti idation,

[and threat, any person, that is, Members of the United States Congress, from discharging any duties

[of any office, trust, and place of confidence under the United States, and to induce by force,

jintimidation, and threat, any officer of the United States, that is. Members of the United States
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jCongress,
I          to leave the place where their duties as officers were required to be performed.
1 (In violation of Title 18, United States Code, Section 372)




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                                               COUNT FIVE
                                            (18 U.S.C. §§ 1361,2)
                   (Destruction of Government Property and Ai ing and Abetting)

I 141. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and

    incorporated as thou h set forth herein.

           142. As set forth in p ragraphs 9, 95, 97, and 98, on or about January 6, 2021, in the

    District of Columbia, the defendants,

                                          KELLY MEGGS,
                                      KENNETH HARRELSON,
                                        JESSICA WATKINS,
                                       JOSEPH HACKETT, and
                                        DAVID MOERSCHEL,

i attempted to, and did, 'willfully injure and co mit depredation against property of the United
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[States, that is, the United States Capitol building, thereby causing and attempting to cause damage

;that exceeded $1,000, and did aid and abet other persons known and unknown to the Grand Jury
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do do so.
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¦ (In violation of Title 18, United States Code, Sections 1361, 2




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                                                    36
; COUNT SIX
                                     (18U.S.C. §§ 231(a)(3), 2)
                             (Civil Disorder and Aiding and Abetting)

I 143. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
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I
  incorporated as though set forth herein.

           144. As set forth in paragraphs 103 through 105, on or about January 6,2021, within the

District of Columbia, the defendant,

                                       JESSICA WATKINS,

    com itted and attempted to commit and aided and abetted other persons known and unknown to

Ithe Grand Jury to co it an act to obstruct, impede, and interfere with a law enforcement officer,

[that is, law enforcement officers guarding the hallway between the Capitol Rotunda and Senate

iChamber, while those officers were lawfully enga ed in the lawful performance of their official

(duties, incident to and during the commission of a civil disorder which in any way and degree

(obstructed, delayed, and adversely affected commerce and the movement of any article and

[commodity in commerce and the conduct and performance of any federally protected function.

{ (In violation of Title 18, United States Code, Sections 231 (a)(3), 2)
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                                                 37
                                               COUNT SEVEN
                                       (18U.S.C. §§ 231(a)(3), 2)
                               (Civil Disorder and Aiding and Abetting)

           145. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and

    incorporated as though set forth herein.

           146. As set forth in paragraphs 119 and 120, on or about January 6, 2021, within the
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; District of Columbia, the defendant,

                                           JOSHUA JAMES,
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[committed and attempted to commit and aided and abetted other persons known and unknown to
i the Grand Jury to com it an ct to obstruct, impede, and interfere with a law enforcement officer,

;that is, District of Columbia Metropolitan Police Department Officer J.M., while Officer J.M. was

    lawfully en aged in the lawful performance of his official duties incident to and during the


[commission of a civil disorder which in any way and de ree obstructed, delayed, and adversely
i af ected commerce and the movement of any article and com odity in co erce and the conduct
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land performance of any federally protected function.
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: (In violation of Title 18, United States Code, Sections 231 (a)(3), 2)
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                                               COUNT EIGHT
| (18 U.S.C.§ 111(a)(1))
                         (Assaulting, Resisting, or Impeding Certain Officers)

            147. Paragraphs 1 throu h 13 and 18 through 134 of this Indictment are re-alleged and
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    incorporated as though set forth herein.

           148. As set forth in aragraphs 119 and 120, on or about January 6, 2021, within the
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j District of Columbia, the defendant,
                                           JOSHUA JAMES,
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[did
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     forcibly assault, resist, oppose, i ede, intimidate, and interfere with District of Columbia
! Metropolitan Police Department Officer J.M., who as assisting officers and employees of the

i United States while such persons were engaged in and on account of the performance of official
i
  duties, and where the acts in violation of this section involved physical contact with the victi and

•the intent to commit another felony, namely, Count Three, charging Obstruction of an Official
i
(Proceeding and Aidin and Abetting, in violation of Title 18, United States Code, Sections
i

[1512(c)(2), 2; and Count Seven, charging Civil Disorder and Aiding and Abetting, in violation of

(Title 18, United States Code, Sections 231(a)(3), 2.
I
( (In violation of Title 18, United States Code, Section 111(a)(1))
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                                               COUNT NINE
                                         (18 U.S.C. § 1512(c)(1))
                             (Tampering with Documents or Proceedings)

            149. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and

    incorporated as thou h set forth herein.

            150. On January 6, 2021, the Federal Bureau of Investigation opened an investigation

    into the attack on the Capitol, and a Grand Jury of the United States District Court for the District

    of Columbia subsequently opened an investigation.

            151. Sometime on or after January 6,2021, RHODES deleted from his cellula telephone

; certain media, files, and communications that showed his involvement in the conduct alleged

; herein.
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, 152. Between on or about January 6,2021, and on or about May 3,2021, in the District

i of Columbia and elsewhere, the defendant,
|
                                  ELMER STEWART RHODES III,

: id corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
r

j attempted to do so, with the intent to impair its inte rity and availability for use in an official

j proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.

: (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                              COUNT TEN
                                         (18 U.S.C. § 1512(c)(1))
                              (Tampering with Documents or Proceedings)

              153. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged

    and incoiporated as though set forth herein.

              154. Sometime on or after January 6,2021, MEGGS deleted from his cellular telephone

    certain media, files, and communications that showed his involvement in the conduct alleged

    herein.

              155. Between on or about January 6, 2021, and on or about February 17, 2021, in the

! District of Columbia and elsewhere, the defendant,

I KELLY MEGGS,

i did corruptly alter, destroy, mutilate, and conceal a record, document, and ot er object, and

    attempted to do so, with the intent to impair its integrity and availability for use in an official
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; proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.
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: (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                          COUNT ELEVEN
i (18 U.S.C. § 1512(c)(1))
                            (Tampering with Documents or Proceedings)

           156. Paragraphs 1 through 13,18 throu h 13 4, and 150 of this Indictment are re-alleged

i and incorporated as though set forth herein.

           157. Someti e on or after January 6, 2021, HARRELSON deleted from his cellular

    telephone certain media, files, and communications that showed his involvement in the conduct

    alleged herein.

           158. Between on or about January 6, 2021, and on or about March 10, 2021, in the
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    District of Columbia and elsewhere, the defendant,

> KENNETH HARRELSON,
t

[did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

|attempted to do so, with the intent to impair its inte rity and availability for use in an official

jproceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.

I (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                                  42
                                            COUNT TWELVE
                                        (18 U.S.C. §§ 1512(c)(1), 2)
                  (Tampering with Documents or Proceedings and Aiding and Abetting)

              159. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged

    and incorporated as thou h set forth herein.
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              160. Someti e after January 6, 2021, JAMES deleted from his cellular telephone the

    Leadership Signal Chat.

              161. On January 8,2021, JAMES instructed another person known to the Grand Jury to

        make sure that all signal comms about the op has been deleted and burned, and the other person

kno n to the Grand Jury confirmed to JAMES that he did in fact do so.

              162. Between on or about January 6,2021, and on or about March 9,2021, in the District

pf Columbia and elsewhere, the defendant,

! JOSHUA JAMES,

did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

attempted to do so, and aided and abetted another in doing so, with the intent to impair its inte rity
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and availability for use in an official proceeding, that is, the Grand Jury investigation into the
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attack on the Capitol on January 6,2021.

i (In violation of Title 18, United States Code, Sections 1512(c)(1), 2)
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                                                    43
I COUNT THIRTEEN
I (18 U.S.C. §§ 1512(c)(1))
j (Tampering with Documents or Proceedings)

           163. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged

    and incorporated as though set forth herein.

           164. So etime on or after January 6, 2021, MINUTA discarded his cellular telephone
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    and, with it, certain media, files, and communications that showed his involvement in the conduct

    alleged herein.

s 165. Between on or about January 6,2021, and on or about March 6,2021, in the District
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[of Columbia and elsewhere, the defendant,

¦ ROBERTO MINUTA,
i
!did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and


jattempted to do so, with the intent to impair its integrity and availability for use in an official
[proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.

                      (In violation of Title 18, United States Code, Section 1512(c)(1))




                                                     44
                                           COUNT FOURTEEN
! (18 U.S.C. § 1512(c)(1))
                               (Tampering with Documents or Proceedin s)

            166. Paragraphs 1 throu h 13,18 thro h 134, and 150 of this Indictment are re-alleged

    and incorporated as thou h set forth herein.

           167. Sometime on or after January 6, 2021, HACKETT deleted from his cellular

    telephone certain media, files, and communications that showed his involvement in the conduct

    alle ed herein.

           168. Between on or about Janua y 6,2021, and on or about May 27,2021, in the District

. of Columbia and elsewhere, the defendant,

: JOSEPH H CKETT,

jdid corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and

i attempted to do so, with the intent to impair its integrity and availability for use in an official
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(proceeding, that is, the Grand Jury investigation into t e attack on the Capitol on January 6,2021.
i
                      (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                                     45
                                           COUNT FIFTEEN
J (18 U.S.C. § 1512(c)(1))
                             (Tampering with Documents or Proceedings)

           169. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged

    and incor orated as though set forth herein.

           170. Sometime on or after January 6, 2021, MOERSCHEL deleted from his cellular

    telephone certain media, files, and com unications that showed his involvement in the conduct

    alleged herein.

           171. Between on or about January 6, 2021, and on or about June 14,2021, in the District


jof
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    Columbia and elsewhere, the defendant,
                                         AVID MOERSCHEL,

(did corruptly alter, destroy, mutil te, and conceal a record, document, and other object, and
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[attempted to do so, with the intent to impair its integrity and availability for use in an official
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[proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.
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; (In violation of Title 18, United States Code, Section 1512(c)(1))
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                                                   46
                                            COUNT SIXTEEN
                                          (18 U.S.C. § 1512(c)(1))
                              (Tampering with Documents or Proceedin s)

           172. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged
I
    and incorporated as though set forth herein.

           173. So etime on or after January 6,2021, ULRICH deleted from his cellular telephone

    and computer certain edia, files, and communications that showed his involvement in the conduct

    alle ed herein.

           174. Between on or about January 6, 2021, and on or about August 4, 2021, in the

    District of Columbia and elsewhere, the defendant,
I
                                             BRIAN ULRICH,

(did corru tly alter, destroy, mutilate, and conceal a record, document, and other object, and

(attempted to do so, with the intent to impair its integrity and availability for use in an official
I
'proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6,2021.

                      (In violation of Title 18, United States Code, Section 1512(c)(1))




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                                                     47
                                     COUNT SEVENTEEN
                                     (18 U.S.C. § 1512(c)(1))
                         (Tampering with Documents or Proceedin s)

         175. Paragraphs 1 through 13,18 through 134, and 150 of this Indictment are re-alleged

and incorporated as though set forth herein.

         176. On January 8, 2021, in response to a request for a video from a person known to

he Grand Jury, CALDWELL sent the video, and subsequently unsent the message containing the

¦ddeo.


         177. Between January 6,2021, and January 19,2021, CALDWELL deleted photographs

from his Facehook account that docu ented his partici ation in the attack on the Capitol on

 anuary 6, 2021.

 . 178. Between on or about Januaiy 6, 2021, and on or about January 19, 2021, in the

District of Columbia and elsewhere, the defendant,

 i THOMAS CALDWELL,



attempted to do so, with the intent to i pair its integrity and availability for use in an official

proceeding, that is, the Grand Juiy investigation into the attack on the Capitol on January 6,2021.

 > (In violation of Title 18, United States Code, Section. 1512(c)(1))

                                                     A TRUE BILL


                                                     FOREPERSON




MATTHEW M. GRAVES
 fTTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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